                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )       CASE NO. DNCW3:03CR208-02
v.                                                  )       (Financial Litigation Unit)
                                                    )
PAUL EDWARD UNDERWOOD.                              )

                                    WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and Southern Farm Bureau Life Insurance Company:

       A judgment was entered on September 10, 2004 in the United States District Court for the

Western District of North Carolina in favor of the United States of America and against Defendant,

Paul Edward Underwood, whose last known address is XXXXXXXXXXXXXX, Sherrills Ford,

North Carolina 28673, in the sum of $281,164.00. The balance on the account as of April 16, 2012

is $251,470.99.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Southern Farm Bureau Life Insurance Company is commanded to turn over property in which

Defendant, Paul Edward Underwood, Social Security Number XXX-XX-8606, has a substantial

non-exempt interest, said property being any and all funds held in an insurance policy ending in

number 147L in the name of Paul Edward Underwood at the following address: Southern Farm

Bureau Life Insurance Company, P.O. Box 78, Jackson, Mississippi 39205, ATTN: Susan E.

Howell, Senior Associate Counsel.
                                                Signed: April 24, 2012
       SO ORDERED.




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